        Case 08-30798               Doc 60          Filed 01/02/09          Entered 01/02/09 10:16:54                          Desc        Page 1
                                                                           of 1



Form 210A (10/06)                                 United States Bankruptcy Court
                                                               CENTRAL DISTRICT OF MA


            In Re: PLATT; PETER                                                 Case No. 0830798


                                            TRANSFER OF CLAIM OTHER THAN FOR SECURITY

            A CLAIM HAS BEEN FILED IN THIS CASE, or deemed filed under 11 U.S.C. § 1111 (a). Transferee hereby gives
            evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim
            referenced in the evidence and notice.



            PRA Receivables Management, LLC., as agent of
            Portfolio Recovery Associates, LLC                                  LVNV Funding LLC
            --------------------------------------------                        --------------------------------------------
            Name of Transferee                                                  Name of Transferor



            Name and Address where notices to transferee                        Court Claim # (if known): 11
            should be sent:                                                     Amount of Claim: $4,300.86
            POB 41067                                                           Date Claim Filed: 08/27/2008
            NORFOLK, VA 23541



            Phone: (877)829-8298                                                Phone: 864-678-8700
            Last Four Digits of Acct # : 9364                                   Last Four Digits of Acct #:

            Name and Address where transferee payments                          Seller Information
            Should be sent (if different from above)                            SHERMAN ACQUISITION LLC
            PO Box 12914                                                        PO Box 10587
            NORFOLK, VA 23541                                                   Greenville SC 29603

            Phone: (877)829-8298
            Last Four Digits of Acct # : 9364




            I declare under penalty of perjury that the information provided in this notice is true and correct to the best of
            knowledge and belief.

            By: /s/ Dolores Garcia                                              Date: 12/11/2008
                --------------------------------------------
                Transferee/Transferee’s Agent



            Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571




                                                                   *935421*
